                                                                                      Kathryn A. Black, ABA #800608
                                                                                      Birch Horton Bittner & Cherot
                                                                                      1127 West Seventh Avenue
                                                                                      Anchorage, AK 99501
                                                                                      Telephone: 907.276.1550
                                                                                      Facsimile:   907.276.3680

                                                                                      Attorneys for Defendant



                                                                                                             IN THE UNITED STATES DISTRICT COURT

                                                                                                                    FOR THE DISTRICT OF ALASKA


                                                                                      DAVID G. FAULK,               )
                                                                                                                    )
                                TELEPHONE (907) 276-1550 • FACSIMILE (907) 276-3680




                                                                                                 Plaintiff,         )
                                                                                                                    ) Case No.:                :10-            CV-     -____
BIRCH HORTON BITTNER & CHEROT




                                                                                             vs.                    )
                                       ANCHORAGE, ALASKA 99501-3301




                                                                                                                    )
                                         1127 WEST SEVENTH AVENUE




                                                                                      GOLFSMITH INTERNATIONAL,      )
                                              ATTORNEYS AT LAW




                                                                                      INC., MEDICREDIT, INC. d.b.a. )
                                                                                      MEDICREDIT FINANCIAL          )
                                                                                      SERVICES, INC. a.k.a.         )
                                                                                      MEDICREDIT CORPORATION,       )
                                                                                      EXPERIAN INFORMATION          )
                                                                                      SOLUTIONS, INC., TRANS        )
                                                                                      UNION SETTLEMENT              )
                                                                                      SOLUTIONS, INC., and EQUIFAX )
                                                                                      INFORMATION SERVICES, LLC., )
                                                                                                                    )
                                                                                                 Defendants.        )
                                                                                                                    )
                                                                                                                    )


                                                                                                 NOTICE OF REMOVAL TO UNITED STATES DISTRICT COURT


                                                                                      TO:             Clerk of the Court, United States District Court for the District of Alaska

                                                                                      AND TO:         LAW OFFICES OF CHARLES G. EVANS
                                                                                                      Attorneys for Plaintiff, David G. Faulk
                                                                                                      123 East 11th Avenue
                                                                                                      Anchorage, AK 99501




                                                                                      FAULK V. TRANS UNION, LLC, ET AL.                            CASE NO.   :10--______CV-__-__
                                                                                      NOTICE OF REMOVAL TO USDC                                                       PAGE 1 OF 4
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                                                                                       Case 3:10-cv-00096-HRH Document 1 Filed 05/11/10 Page 1 of 4
                                                                                              Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendant, Trans

                                                                                      Union, LLC (“Trans Union”), hereby removes the subject action from the Superior

                                                                                      Court for the State of Alaska, Third Judicial District at Anchorage, to the United

                                                                                      States District Court for the District of Alaska, on the following grounds:

                                                                                              1.      Plaintiff, David G. Faulk, served Trans Union on or about April 21, 2010,

                                                                                      with a Summons and Complaint filed in the Superior Court for the State of Alaska,

                                                                                      Third Judicial District at Anchorage. A copy of the Notice Of Removal filed in the

                                                                                      State Court is attached hereto as Exhibit A, and a copy of the Summons and

                                                                                      Complaint filed in State Court is attached hereto as Exhibit B.
                                TELEPHONE (907) 276-1550 • FACSIMILE (907) 276-3680




                                                                                              2.      Plaintiff makes claims under the Fair Credit Reporting Act, 15 U.S.C. §
BIRCH HORTON BITTNER & CHEROT




                                                                                      1681, et seq. (the “FCRA”). See Complaint, ¶ 1.
                                       ANCHORAGE, ALASKA 99501-3301
                                         1127 WEST SEVENTH AVENUE




                                                                                              3.      This Court has original jurisdiction over the subject action pursuant to
                                              ATTORNEYS AT LAW




                                                                                      28 U.S.C. § 1331 since there is a federal question. As alleged, this suit falls within

                                                                                      the FCRA which thus supplies this federal question.

                                                                                              4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from

                                                                                      the Superior Court for the State of Alaska, Third Judicial District at Anchorage, to the

                                                                                      United States District Court for the District of Alaska.

                                                                                              5.      As of the date of this Notice of Removal, Defendants Golfsmith

                                                                                      International, Inc., Experian Information Solutions, Inc. and Equifax Information

                                                                                      Services, LLC have been served (collectively, the “Served Defendants”); Defendant

                                                                                      Medicredit Finanacial Services, Inc. a.k.a. Medicredit Corporation has not been

                                                                                      served. Counsel for Trans Union has contacted counsel for the Served Defendants

                                                                                      and they have consented to this removal as evidenced by the consents attached

                                                                                      hereto as Exhibits C, D and E.




                                                                                      FAULK V. TRANS UNION, LLC, ET AL.                          CASE NO.    :10--______CV-__-__
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                                                                                              6.      Notice of this removal has been or will promptly be filed with the

                                                                                      Superior Court for the State of Alaska, Third Judicial District at Anchorage, and

                                                                                      served upon all adverse parties.

                                                                                              WHEREFORE, Defendant, Trans Union, LLC, by counsel, removes the

                                                                                      subject action from the Superior Court for the State of Alaska, Third Judicial District

                                                                                      at Anchorage, to the United States District Court for the District of Alaska.

                                                                                              DATED this 10th day of May, 2010.

                                                                                                                               BIRCH HORTON BITTNER & CHEROT
                                                                                                                               Attorneys for Defendant
                                TELEPHONE (907) 276-1550 • FACSIMILE (907) 276-3680




                                                                                                                               By: s/ Kathryn A. Black ___________________
BIRCH HORTON BITTNER & CHEROT




                                                                                                                                   Kathryn A. Black, ABA #800608
                                       ANCHORAGE, ALASKA 99501-3301




                                                                                                                                   1127 West Seventh Avenue
                                         1127 WEST SEVENTH AVENUE




                                                                                                                                   Anchorage, AK 99501
                                              ATTORNEYS AT LAW




                                                                                                                                   Telephone: 907.276.1550
                                                                                                                                   Facsimile:     907.276.3680
                                                                                                                                   Email:         kblack@bhb.com




                                                                                      FAULK V. TRANS UNION, LLC, ET AL.                          CASE NO.   :10--______CV-__-__
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                                                                                                   CERTIFICATE OF SERVICE

                                                                                      The undersigned hereby certifies that on the 10th day of
                                                                                      May, 2010, a true and correct copy of the foregoing was
                                                                                      served on the following in the manner indicated:


                                                                                      MANUAL NOTICE:

                                                                                      LAW OFFICES OF CHARLES G. EVANS
                                                                                      Counsel for Plaintiff David G. Faulk
                                                                                      123 East 11th Avenue
                                                                                      Anchorage, AK 99501

                                                                                      Fred I. Williams
                                                                                      AKIN GUMP STRAUSS HAUER & FELD LLP
                                                                                      Counsel for Golfsmith International, Inc.
                                                                                      300 West 6th Street, Suite 2100
                                                                                      Austin, TX 78701-3911
                                TELEPHONE (907) 276-1550 • FACSIMILE (907) 276-3680




                                                                                      Angela M. Taylor
                                                                                      JONES DAY
BIRCH HORTON BITTNER & CHEROT




                                                                                      Counsel for Experian Information Solutions, Inc.
                                       ANCHORAGE, ALASKA 99501-3301




                                                                                      3161 Michelson Drive, Suite 800
                                         1127 WEST SEVENTH AVENUE




                                                                                      Irvine CA 92612
                                              ATTORNEYS AT LAW




                                                                                      K. Ann Broussard
                                                                                      KING & SPALDING LLP
                                                                                      Counsel for Equifax Information Services, LLC
                                                                                      1180 Peachtree Street, NE
                                                                                      Atlanta, GA 30309


                                                                                      BIRCH HORTON BITTNER & CHEROT

                                                                                      By: s/ Kathryn A. Black
                                                                                              Kathryn A. Black




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